
*847OPINION.
Littleton:
The evidence shows that the debt which petitioner’s sister and her husband owed him, was fully repaid in 1916 in the sum of 66,620 kronen. Of said amount, 60,000 kronen were deposited to petitioner’s account in the Wiener Bank Yerein at Budapest, and on the date when withdrawn in October, 1920, there were by accrual of interest 64,327 kronen, which had a value of $132 in American money.
If the deposit be considered as a debt from the bank to the petitioner, he is not entitled to deduct the amount of $13,728 as a bad debt in computing his net income for the year 1920 for the reason that said debt was not found to be worthless and charged off by the petitioner during the taxable year, and under the provisions of section 214 of the Revenue Act of 1918 a debt may not be deducted in part.
The petitioner insists however if $13,728 is not deductible as a bad debt he is entitled to deduct the same as a loss sustained in 1920.
The claimed loss is based upon the shrinkage it? value of the kronen between the date deposited in the bank in Budapest in 1916 *848and October, 1920, when withdrawn. The shrinkage in value of property does not constitute a deductible loss under the statute. Theodore Tiedemann &amp; Sons, Inc., 1 B. T. A. 1077; E. O. Walgren, 4 B. T. A. 1066; W. P. Davis, 6 B. T. A. 1267; Corn Exchange Bank, 6 B. T. A. 158; New York Life Insurance Co. v. Edwards, 271 U. S. 109.
Reviewed by the Board.

Judgment will be entered for the respondent.

